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THE HONORABLE ROBERT S. LASNIK

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
JON CROSSLAND,
No.  2:18-cv-01422 RSL
Plaintiff,
NOTICE OF DEATH
v.
WIDEORBIT, INC.,
Defendant.

 

 

 

PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 25(a)§2, Please take
notice that Jon Crossland, plaintiff in the above-captioned case, died on March 9, 2021, in
Mexico. Due to the complications of dealing with death of an American citizen in Mexico, no
death certificate is currently available, but will be submitted as soon as it is provided to
counsel.

The court will be timely notified as to arrangements for the establishing of Mr.
Crossland’s estate and personal representative.

A motion for substitution and other filings will follow.

Ht

Hilt

LAW OFFICES OF

JUDITH A. LONNQUIST, P.S.
1218 THIRD AVENUE, SUITE 1500
SEATTLE, WA 98101-3021
TEL 206.622.2086 FAX 206.233.9165

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Respectfully submitted this 11" day of March, 2021.

LAW OFFICES OF
JUDITH A. LONNQUIST, PS.

/s/ Judith Lonnquist
Judith A. Lonnquist, WSBA No. 06421
Attorney for Plaintiff

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CERTIFICATE OF SERVICE

I, Kris LeClaire, hereby certify that on this date I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send notification of

such filing to the following:

 

 

 

 

 

 

Party Method of Service
Hand Deli
Victoria M. Slade, WSBA #44597 Hy Legal Messenger
920 Fifth Avenue, Suite 3300 [] Regular Mail
Seattle, WA 98104-1610 E-Service via the Court
Telephone: 206.622.3150 DB E-Mail
Fax: 206.757.7700
Dated this 11" day of March 2021.
Kris LeClaire

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LAW OFFICES OF

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